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Of Attorneys for Plaintiff




                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION


 JOHN DOE,                                                                         Case No. 6:17-cv-01103-MK

                Plaintiff,

        v.
                                                                     NOTICE OF VOLUNTARY
 UNIVERSITY OF OREGON, SANDY                                         PARTIAL DISMISSAL OF CLAIMS
 WEINTRAUB, an individual acting in his                              AND DEFENDANTS
 personal capacity; CAROL MILLIE, an
 individual acting in her personal capacity; and
 ROBIN HOLMES, an individual acting in her
 personal capacity.

                Defendants.


       Pursuant to settlement filed herein (Dkt. #60) and Fed.R.Civ.P. 41(A)(ii), Plaintiff hereby

voluntarily dismisses without prejudice and without costs or attorney fees to any party his First

Claim for Relief alleging a Violation of Equal Protection; his Second Claim for Relief alleging

Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, et seq.; his Fourth

Claim for Relief alleging Breach of the Covenant of Good Faith and Fair Dealing; his Sixth Claim



1 – NOTICE OF VOLUNTARY PARTIAL DISMISSAL OF CLAIMS AND DEFENDANTS
                                                                                                43O1641 15976-001
                                    LANDYE BENNETT BLUMSTEIN LLP
                                                  Attorneys at Law
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for Relief alleging Negligent Infliction of Emotional Distress, and his Seventh Claim for Relief

alleging Intentional Infliction of Emotional Distress.

       Pursuant to settlement (Dkt. #60) and Fed.R.Civ. P. 41(A)(ii), Plaintiff further voluntarily

dismisses his claims against Defendants Sandy Weintraub, Carole Millie, and Robin Holmes

without prejudice and without costs or attorney fees to any party.

       DATED this 30th day of December 2019.



                                                    /s/ Richard S. Yugler
                                                    Richard S. Yugler, OSB #804167
                                                    ryugler@lbblawyers.com
                                                    Attorney for Plaintiff John Doe




2 – NOTICE OF VOLUNTARY PARTIAL DISMISSAL OF CLAIMS AND DEFENDANTS
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 30, 2019, I served the foregoing NOTICE OF

VOLUNTARY PARTIAL DISMISSAL OF CLAIMS on:

Amanda M. Walkup
awalkup@hershnerhunter.com
Lillian Marshall-Bass
lmarshall-bass@hershnerhunter.com
HERSHNER HUNTER, LLP
180 East 11th Avenue
P.O. Box 1475
Eugene, OR 97440
        Attorneys for Defendant

by the following indicated method or methods:

       CM/ECF system transmission.

       E-Mail (courtesy only).

       Email. As required by Local Rule 5.2, any interrogatories, requests for production, or
       requests for admission were emailed in Word or WordPerfect format, not in PDF, unless
       otherwise agreed to by the parties.

       Facsimile communication device.

       First class mail, postage prepaid.

       Hand-delivery.

       Overnight courier, delivery prepaid.




                                                    s/ Kathy Baker
                                                    Kathy Baker, Legal Assistant to Attorney
                                                    for Plaintiff John Doe




3 – NOTICE OF VOLUNTARY PARTIAL DISMISSAL OF CLAIMS AND DEFENDANTS
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